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 5
                                    UNITED STATES DISTRICT COURT
 6
                                    EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES,                                  No. 16-CR-0199 GEB
 9
                       Plaintiff,
10
            v.                                       STIPULATION AND PROPOSED ORDER
11                                                   CONTINUING THE STATUS
     KIONI M. DOGAN, et. al.,                        CONFERENCE SET FOR JANUARY 12,
12                                                   2018 TO FEBRUARY 16, 2018 AT 9:00 A.M.
                       Defendants.
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15           IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,

16   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the

17   United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that

18   the status conference presently set for January 12, 2018 should be continued to February 16, 2018

19   at 9:00 a.m., and that time under the Speedy Trial Act should be excluded from January 12, 2018

20   through February 16, 2018.

21          The reason for the continuance is that Mr. Locke has resigned from the Federal

22   Defender’s Panel and additional time is needed to substitute a new attorney for Mr. Locke.

23   Additionally, defense counsel need additional time to review the discovery and to conduct

24   investigation. The defense is specifically engaged in attempting to discover how the instant case

25   relates to two similar cases, United States v. Holimon, 15-237 and United States v. Alexander,

26   16-179, currently being litigated in this Court. There are over 14,000 pages of discovery and

27   multiple search warrants were executed that are relevant to this case and the other two cases. The

28   defense is also attempting to establish whether a fourth case, United States v. Dogan, 16-198 is
                                                     1
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 1   related in fact to this case. The exclusion of time is also necessary to ensure continuity of counsel.

 2   Accordingly, the time between January 12, 2018 and February 16, 2018 should be excluded from

 3   the Speedy Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and

 4   Local Code T-4 for defense preparation. The parties stipulate that the ends of justice served by

 5   granting this continuance outweigh the best interests of the public and the defendants in a speedy

 6   trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Plesser and Mr. Wilson have authorized Mr.

 7   Locke to sign this pleading for them.

 8
     DATED: January 4, 2018                        /s/ Bruce Locke
 9                                                 BRUCE LOCKE
                                                   Attorney for Kioni Dogan
10
     DATED: January 4, 2018                        /s/ Bruce Locke
11                                                 For STEVE PLESSER
                                                   Attorney for Gloria Harris
12
     DATED: January 4, 2018                        /s/ Bruce Locke
13                                                 For ROBERT WILSON
                                                   Attorney for LAVONDA BAILEY
14
     DATED: January 4, 2018                        /s/ Bruce Locke
15                                                 For JARED DOLAN
                                                   Attorney for the United States
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            The Court finds, for the reasons stated above, that the ends of justice served by granting
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     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
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     therefore.
21
            IT IS SO ORDERED.
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     Dated: January 4, 2018
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